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11
                                  UNITED STATES DISTRICT COURT
12
                               NORTHERN DISTRICT OF CALIFORNIA
13
                                      SAN FRANCISCO DIVISION
14
     THE CITY AND COUNTY OF SAN                       Case No. 3:18-cv-07591-CRB-JSC
15   FRANCISCO, CALIFORNIA and THE
     PEOPLE OF THE STATE OF                           STIPULATION AND [PROPOSED] ORDER
16   CALIFORNIA, Acting by and through San            AMENDING PLAINTIFF’S COMPLAINT
     Francisco City Attorney DAVID CHIU,
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                        Plaintiffs,
18
            v.
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     PURDUE PHARMA L.P., et al.
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                        Defendants.
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 1          Pursuant to Civil Local Rule 7-12 and Fed. R. Civ. P. 15(a)(2) the People of the State of

 2   California, acting by and through San Francisco City Attorney David Chiu, (“Plaintiff”), together

 3   with Defendants (the “Parties”) respectfully submit this stipulation to allow Plaintiff to amend its

 4   complaint.

 5          WHEREAS, Plaintiff informed Defendants and this Court on January 14, 2022 in the

 6   parties’ Joint Statement, Dkt. 938, of its intention to withdraw its claim under California’s False

 7   Advertising Law (“FAL”), Cal. Bus. & Prof. Code § 17500, et seq. (Count V) and the portions of

 8   Plaintiff’s claim under California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code

 9   § 12500, et seq. (Count IV) that are predicated on violations of the FAL.

10          WHEREAS, the parties stipulate, pursuant to Fed. R. Civ. P. 15(a)(2), to allow amendment

11   of Plaintiff’s complaint to withdraw Claim V, relevant portions of Claim IV, and other references

12   to the FAL and/or § 17500. See Dkt. 128 at 2-3 and ¶¶ 78, 908, 910-11, 914, 920-25 (“the

13   Withdrawn Claims”).

14          WHEREAS, these paragraphs and references constitute the entirety of Plaintiff’s claim

15   under the FAL as they relate to harm in and to San Francisco.

16          WHEREAS, the Parties agree that withdrawal of the aforementioned references and

17   paragraphs will be with prejudice only as to the Withdrawn Claims as they are pled within the

18   geographic limits of San Francisco, as set forth in the factual allegations of the operative complaint,

19   and do not extend to FAL claims that have been or may be made with respect to or by other cities,

20   counties, or the State of California.

21          THE PARTIES THEREFORE STIPULATE, AGREE, AND REQUEST, through their

22   respective counsel of record, the Court order that Plaintiff’s complaint is amended to reflect

23   Plaintiff’s withdrawal of its FAL allegations and claims.

24

25    DATED: March 2, 2022                               Respectfully submitted,

26                                                       Additional Counsel:
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27    City Attorney
      YVONNE R. MERE                                     /s/ Tiffany R. Ellis__________
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      OWEN J. CLEMENTS                                   Tiffany Ellis
                                                                  STIPULATION TO AMEND PLAINTIFF’S COMPLAINT
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                                                           STIPULATION TO AMEND PLAINTIFF’S COMPLAINT
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                                                            STIPULATION TO AMEND PLAINTIFF’S COMPLAINT
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                                                  STIPULATION TO AMEND PLAINTIFF’S COMPLAINT
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 1   PURSUANT TO STIPULATION, IT IS SO ORDERED.

 2
     Dated: _________________, 2022        _____________          ___________
 3                                         CHARLES R. BREYER
                                           United States District Judge
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 1                                            ATTESTATION

 2          Pursuant to Civil L.R. 5-1(i)(3), I hereby attest that concurrence in the filing of this

 3   document has been obtained from the above signatories.

 4
      Dated: March 2, 2022                               By: /s/ Tiffany R. Ellis_____
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                                                     -8-                          CASE. NO. 18-CV-07591-CRB-JSC
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 1
 2                                   CERTIFICATE OF SERVICE

 3          I hereby certify that, on March 2, 2022, service of this document was accomplished

 4   pursuant to the Court’s electronic filing procedures by filing this document through the ECF

 5   system.
                                                  /s/ Tiffany R. Ellis
 6                                                   Tiffany R. Ellis
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